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                   UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                           AT CHARLESTON
ERIC DEWAYNE SPENCER,

      Movant,

v.                                        Civil Action No. 2:08-01390

                                          Criminal No. 2:99-00012-03

UNITED STATES OF AMERICA,

      Respondent.

                      MEMORANDUM OPINION AND ORDER
      Pending before the court is Movant Eric Spencer’s Motion to

Vacate, Set Aside and Correct Sentence pursuant to 28 U.S.C. §

2255. (Doc. No. 1124).      By Standing Order, this action was

referred to United States Magistrate Judge Mary E. Stanley for

submission of findings and recommendations regarding

disposition, pursuant to 28 U.S.C. § 636(b)(1)(B).               Magistrate

Judge Stanley submitted to the court her Proposed Findings and

Recommendation (“PF&R”) on November, 14, 2011, in which she

recommended that the § 2255 Motion be denied, and that the civil

action be dismissed from the court’s docket.             (Doc. No. 1207).

      In accordance with the provisions of 28 U.S.C. § 636(b),

the parties were allotted fourteen days, plus three mailing

days, in which to file any objections to Magistrate Judge

Stanley’s Findings and Recommendation.           The failure of any party

to file timely objections constitutes a waiver of such party’s

right to a de novo review by this court.              Snyder v. Ridenour,

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889 F.2d 1363 (4th Cir. 1989); United States v. Schronce, 727

F.2d 91 (4th Cir. 1984).            On December 8, 2011, the Movant filed

a motion to extend time to file objections to the PF&R, which

the court granted.           (Docs. No. 1210, 1214).        On February 9,

2012, the Movant filed a second motion to extend time to file

objections, which the court granted, giving the Movant until

February 20, 2012, to file his objections.                 (Docs. No. 1219,

1220).    The Movant filed his objections on February 24, 2012.

(Doc. No. 1222).1 The court has reviewed de novo those portions

of the PF&R to which the Movant objects and FINDS that the

objections lack merit.           Accordingly, the court ADOPTS and

incorporates herein the Magistrate Judge’s Proposed Findings and

Recommendation.

                     I.      Factual and Procedural Background

      On or about February 17, 1999, a federal grand jury

returned a thirteen count superseding indictment charging Eric

Spencer and a number of others with various drug-related

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 The court notes that the objections were not timely filed.
However, on November 10, 2011, the Movant was granted a sentence
reduction under 18 U.S.C. § 3582, pursuant to the Fair
Sentencing Act of 2010, which retroactively amended the United
States Sentencing Guidelines for offense involving cocaine base.
The Movant’s sentence was reduced from 262 months to 168 months.
Spencer was released from incarceration on November 16, 2011.
(Doc. No. 1207). Because of this, he did not immediately
receive the PF&R entered November 14, 2011. There is ample
evidence that the Movant was diligently pursuing his rights, and
he filed his pro se objections four days after the extended
deadline. For these reasons, the court will treat his
objections as timely filed.
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offenses.    Defendant was charged with conspiracy to distribute

and possess with intent to distribute cocaine powder, cocaine

base (“crack”), and marijuana, in violation of 21 U.S.C. §§

841(a)(1) and 846: travel in interstate commerce to facilitate

the conspiracy in violation of 21 U.S.C. § 846, and possession

with intent to distribute crack, cocaine powder, and marijuana

in violation of 21 U.S.C. § 841(a)(1).           (Doc. No. 57).

                                Guilty Plea

       On or about April 21, 1999, Defendant pled guilty, pursuant

to a written plea agreement, to the conspiracy charge.               During

the plea hearing, and in accordance with the requirements of

Federal Rule of Criminal Procedure 11(b)(1), Mr. Spencer

appeared with his counsel, Herbert Henderson, to review the

penalties to which Spencer was exposed based upon his guilty

plea, and to review the rights he was giving up as a result of

the plea.    At the plea hearing, before and after pleading

guilty, Mr. Spencer was informed that, at sentencing, the United

States intended to prove a sufficient drug quantity for the

statutory ten-year mandatory minimum and that the maximum

sentence could be life in prison.         (Doc. No. 539 at 8-9, 15-16,

20).   Additionally, at the plea hearing, Mr. Henderson, in the

presence of Spencer, proffered that the Defendant admitted that

from 1995 to 1998, he conspired with Calvin Dyess, Benjamin

Green, and Leon Mitchell to purchase cocaine and marijuana and

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sell it to others.      Mr. Henderson further specified that these

individuals agreed to pool their money, purchase drugs and

divide the drugs for re-sale.        Mr. Henderson proffered that

Spencer was involved in the sale of cocaine, crack, and

marijuana.    (Id. at 14-15). Mr. Spencer also acknowledged in his

own words that he knew he was dealing with these controlled

substances, that he knew what others were doing, and that they

knew what he was doing.       Spencer admitted that his conduct was

unlawful, and specifically admitted that the conspiracy involved

50 or more grams of cocaine base or five or more kilograms of

cocaine powder.      (Id. at 16-17).

                                Sentencing

      A three-day sentencing hearing was held for Eric Spencer

and his co-defendants, Calvin Dyess and Orange Dyess on August

25 and 26, 1999.      As noted by the Court of Appeals, “[t]he

district court’s factual findings that served as bases for

[Defendant’s] sentence were not admitted by [Defendant].”

United States v. Dyess, 478 F.3d 224, 241 (4th Cir. 2007).                The

sentencing court found that the testimony presented at the

sentencing hearing established that the total amount of drugs

involved in the conspiracy was at least 1.5 kilograms of cocaine

base, as calculated in the PSR, and that Spencer had a

supervisory role in the distribution scheme.            Mr. Spencer did

not contest the amount of drugs involved during the sentencing

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hearing and, in fact, admitted that the conspiracy involved 12

to 17 kilograms of cocaine during his debriefing and through Mr.

Henderson at sentencing.       During his allocution, Mr. Spencer

stated: “I haven’t denied selling drugs, and I fully accept

responsibility for the offenses I committed.”             (Doc. No. 488 at

415).

                       Mr. Spencer’s First Appeal

        On September 1, 1999, Mr. Spencer timely filed a pro se

notice of appeal to the United States Court of Appeals for the

Fourth Circuit.      (Doc. No. 386).       His appeal was consolidated

with his co-defendants, Calvin Dyess and Orange Dyess.               (Doc.

No. 498, 99-4566(L)).      Attorney Thomas Gillooly was appointed to

represent Spencer during his appeal.

        The defendants moved to disqualify the United States

Attorney’s Office for the Southern District of West Virginia and

that motion was granted.       The United States Attorney’s Office

for the Eastern District of Virginia was appointed by the

Attorney General to serve as Special Assistants to the Attorney

General to represent the United States.           (Doc. No. 761).      On

July 9, 2003, the defendants jointly moved to dismiss the

indictment, to withdraw their guilty pleas, and for a new

sentencing hearing based on the government misconduct. (Doc. No.

826.) Spencer and Calvin Dyess also filed a joint motion to

vacate their sentences, and to conduct a new sentencing hearing

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based upon the Supreme Court’s decision in Apprendi v. New

Jersey, 530     U.S. 466 (2000). (Doc. No. 824).

      In support of their motions for relief, Mr. Spencer and his

two co-defendants argued that the factual basis for the

sentencing guidelines calculations used at their original

sentencing hearing was undermined by the misconduct of Officers

Hart and Henderson and co-defendant, Ms. Rader, as well as by

the purported recantations by co-defendants Benjamin E. Green,

Jr. and Lori Nicole Cummings. (Doc. No. 827).

      On August 26, 2003, this court empaneled a special grand

jury in Charleston, West Virginia, to investigate and review the

conduct surrounding the investigation of the drug trafficking

activities of Calvin Dyess, Spencer and others. Dyess, 478 F.3d

at 234. The grand jury ultimately issued a presentment and

report.

      According to the Presentment and Report of the Grand Jury,

during the grand jury proceedings, Officer Hart testified that

he denied suggesting that Ms. Rader lie about Calvin’s drug

dealing, and further denied threatening Ms. Rader during the

course of her criminal case. Hart also denied ever attempting to

coerce other witnesses to exaggerate the weight of the drugs

involved in the conspiracy, as alleged in the affidavits of

Green and Cummings. (Doc. No. 1027 at 12).



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      In his December 17, 2003 Order addressing the various

motions, Judge Haden stated that “an evidentiary hearing on the

alleged perjured testimony offered at sentencing and

resentencing, if necessary, cleansed of the tainted evidence,

should cure any prejudice engendered by Hart’s malfeasance.”

United States v. Dyess, 293 F. Supp. 2d 675, 686 (S.D. W. Va.

Dec. 17, 2003).       Judge Haden also denied the defendants’ motion

to withdraw their guilty plea, correctly noting that the

information was not exculpatory evidence; rather it was

impeachment evidence. Judge Haden also noted that no Defendant

made a claim of actual innocence.         (Doc. No. 1207 at p. 18).         As

to the defendants’ motion to be resentenced, Judge Haden ordered

an evidentiary hearing to determine the weight of the credible

evidence on the issue of Spencer’s three-point enhancement for

his role in the offense.       Id.   The evidentiary hearing was held

on July 9, 2004, in front of this court.2

      On June 24, 2004, the Supreme Court decided the case of

Blakely v. Washington, 542 U.S. 296 (2004), which extended the

holding in Apprendi to other mandatory state sentencing schemes.

The Court held that, in the context of mandatory sentencing

guidelines under state law, the Sixth Amendment right to a jury




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 Judge Haden passed away prior to the evidentiary hearing, and
the undersigned was appointed to the case post-appeal.
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trial prohibited enhancing criminal sentences based on facts

other than those decided by the jury or admitted by the

defendant. Still outstanding was the issue of whether these

holdings would be extended by the Court to the United States

Sentencing Guidelines.

      The defendants, who had the burden of proof, called the

following witnesses to testify at the July 9, 2004 evidentiary

hearing: Rachel Ursala Rader (Ms. Rader), Officer William Hart,

Officer George Henderson, Lori Nicole Cummings, United States

Probation Officer John B. Edgar and Assistant United States

Attorney Monica Schwartz. Both the defense and the government

examined and cross-examined the witnesses under oath. None of

the testimony at the evidentiary hearing concerned any specific

amounts of drugs. In fact, Ms. Rader and Lori Cummings both

testified that they had no specific knowledge of the amount of

drugs involved in the conspiracy.

      On February 11, 2005, the undersigned issued an Order

denying the defendants’ motions to vacate their sentences and

their motion for re-sentencing. (Doc. No. 1001). After having

the opportunity to observe each witness testify at the hearing,

the court noted that “the defense offered proof that part of

[Ms. Rader’s] testimony during defendants’ consolidated

sentencing hearing is not reliable.” (Id. at 3). The government

did not dispute this finding. Instead, the government argued

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that, notwithstanding Ms. Rader’s testimony and the alleged

misconduct by Officers Hart and Henderson, there was sufficient

untainted evidence to support the original sentences imposed.

(Id. at 3-4).

      The court further found that the drug quantities

established by the government witnesses (other than Ms. Rader,

Hart, Henderson, Green and Cummings, whose testimony was deemed

unreliable) at the original sentencing hearing “significantly

exceeded the 1.5 kilograms of crack cocaine Judge Haden used to

sentence the defendants.” (Id. at 5). There was no evidence

presented that the conduct of Officers Hart and Henderson had

affected the original testimony of the remaining witnesses. (Id.

at 6).

      The Order further stated that the court “reconsidered Judge

Haden’s original sentences in these cases in light of Booker and

finds them to be reasonable and fully supported by credible

evidence. In light of this evidence, if called upon to

resentence these defendants, the court would give them the same

sentences Judge Haden imposed.” (Id. at 11-12).             The defendants

filed a motion to reconsider, which was summarily denied by this

court.    (Doc. No. 1025).     On February 28, 2005, Mr. Spencer

filed a Notice of Appeal, and Joan Mooney was appointed as new

counsel for Defendant on this appeal.          (Doc. No. 1020).



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                          Mr. Spencer’s Second Appeal

      On his second appeal, Spencer argued that his Booker claim

was properly preserved on remand.          He further asserted that he

neither admitted, nor could the government prove beyond a

reasonable doubt, that 1.5 kg of cocaine base was attributable

to him.

      The Fourth Circuit made the following findings concerning

his claims:

      Sixth Amendment sentencing error occurs when a
      sentencing court under a mandatory sentencing
      guideline regime bases its decision on facts (other
      than a prior conviction) not found by a jury beyond a
      reasonable doubt or admitted by the defendant, to
      enhance a defendant’s sentence above the minimum
      required by a finding of guilty for a given offense.
      Booker, 543 U.S. at 244, 125 S. Ct. 738. Such error
      occurred when these defendants were initially
      sentenced in 1999, but we are of the opinion it was
      cured on remand in 2005. In its order denying the
      defendants’ motions to vacate the sentences and for
      resentencing, the district court (Judge Faber)
      announced that it had “reconsidered . . . [the]
      original sentences in these cases in light of Booker”
      and found the terms “to be reasonable and fully
      supported by credible evidence.” (SJA 390-91). We find
      that this language is, for all practical purposes, an
      “alternative identical sentence treating the
      Guidelines as advisory only.” See United States v.
      Revels, 455 F.3d 448, 451 (4th Cir. 2006; see
      United States v. Hammoud, 381 F.3d 316, 353-54 (4th
      Cir. 2004). We therefore conclude that any Booker
      error in the defendants’ sentencing is harmless, as it
      has not “actually affected the outcome of the
      proceedings.” United States v. Hughes, 401 F.3d 540,
      548 (4th Cir. 2005).




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United States v. Dyess, 478 F.3d 224, 240-241 (4th Cir. 2007).

The Fourth Circuit upheld the decision of the lower court and

ultimately regarded any Sixth Amendment errors as harmless.

        Finally, to the extent that the defendants argued that

their original sentences were not supported by credible evidence

because the sentences were tainted by the misconduct of Hart and

Ms. Rader, which culminated in Hart’s subornation of perjury by

Ms. Rader at the sentencing hearing, the Fourth Circuit stated:

        We have already addressed the substance of this
        question in our discussion of Booker and the impact on
        the defendants’ sentences of the [Rader]-Hart affair.
        On remand, Judge Faber considered anew all of the
        evidence justifying the defendants’ sentences and
        found that “in spite of the credibility problems of
        [Rader], Hart, Henderson and Green, the original
        sentences are supported by abundant credible
        evidence.” (SJA 390). We agree with the district court
        and find the defendants’ contentions on this point to
        be without merit.

Id. at 242-43.

        Spencer then filed a Petition for Writ of Ceriorari,

Spencer v. United States, 552 U.S. 1063 (No. 07-5582).               The

Petition for a writ of certiorari was denied on December 3,

2007.    552 U.S. 1063 (2007).       A Petition for Rehearing was also

denied by the Supreme Court on March 3, 2008.             Spencer v. United

States, 552 U.S. 1251 (2008).        Defendant filed the instant

motion under 28 U.S.C. § 2255 on December 5, 2008.              (Doc. No.

1124).



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      On November 10, 2011, Eric Spencer was granted a reduction

in sentence in light of Amendment 750 to the United States

Sentencing Guidelines and under 18 U.S.C. § 3582(c)(2).                (Docs.

No. 1204-1206).      Defendant’s sentence was reduced to 168 months.

(Doc. No. 1204 at 2).       In addition to the conditions of

supervised released previously imposed, the court imposed a

special condition of supervised release requiring Defendant to

serve 90 days in a community confinement center. (Doc. No. 1204

at 2). The District Court’s Memorandum Opinion and Judgment

Order states that, in granting the reduction, the District Court

considered an addendum to the PSR and the applicable factors

under 18 U.S.C. § 3553(a).

                               II.    Discussion

                     Ineffective Assistance of Counsel

      In Strickland v. Washington, 466 U.S. 688 (1984), the

United States Supreme Court adopted a two-prong test for

determining whether a defendant received adequate assistance of

counsel.     The first prong is competence; Defendant must show

that the representation fell below an objective standard of

reasonableness.      Id. at 687-91.     There is a strong presumption

that the conduct of counsel was in the wide range of what is

considered reasonable professional assistance, and a reviewing

court must be highly deferential in scrutinizing the performance

of counsel.     Id. at 688-89.

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      In order to meet the first prong, Defendant:

      Must identify the acts or omissions of counsel that
      are alleged not to have been the result of reasonable
      professional judgment. The court must then determine
      whether, in light of all the circumstances, the
      identified acts or omissions were outside the wide
      range of professionally competent assistance. . .
      [C]ounsel is strongly presumed to have rendered
      adequate assistance and made all significant decisions
      in the exercise of reasonable professional judgment.

Id. at 690.

      The second prong is prejudice; “[t]he defendant must

show that there is a reasonable probability that, but for

counsel’s unprofessional errors, the result of the proceeding

would have been different.       A reasonable probability is a

probability sufficient to undermine confidence in the outcome.”

Id. at 694.

      The court may determine the prejudice prong prior to

considering the competency prong if it is easier to dispose of

the claim on the ground of lack of prejudice.             Id. at 697.

Using this standard and based upon all of the evidence of

record, the court will address the merit of each of Movant’s

allegations concerning ineffective assistance of counsel.

      The standard for ineffective assistance of counsel

following a guilty plea is that the defendant must demonstrate

prejudice by showing that “there is a reasonable probability

that, but for counsel’s errors, he would not have pleaded guilty




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and would have insisted on going to trial.”             Hooper v.

Garraghty, 845 F.2d 471, 475 (4th Cir. 1988).

                        III. The Movant’s Objections

      Objection I. “Counsel Henderson was ineffective for
      failing to investigate the law regarding Movant
      Spencer’s aggravating rule [sic, role] enhancement
      under U.S.S.G. § 3B1.1.”

      The Movant asserts that he received ineffective assistance

of counsel at the sentencing stage of his trial, when his

counsel failed to present United States v. Capers, 61 F.3d 1100

(4th Cir. 1995).      In Capers, the Fourth Circuit explained the

1993 Amendment to the commentary of U.S.S.G. 3B1.1.3

        According to U.S.S.G. § 3B1.1(b), “If the defendant was a

manager or supervisor (but not an organizer or leader) and the

criminal activity involved five or more participants or was

otherwise extensive, increase [base offense level] by 3 levels.”

Capers, 61 F.3d 1100, 1109 (4th Cir. 1995).             “Before the

amendment, a defendant in the circuit could receive the

enhancement without having exercised control over other persons;

after the amendment, the defendant must have exercised control

over other persons to warrant the enhancement.”              Id. at 1110.

Capers further explained:


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 This objection is essentially the same ground raised in his
Section 2255 motion, where the Defendant asserts that Mr.
Henderson did not have an appropriate understanding of the
guideline permitting a sentence enhancement for someone who had
an aggravating role in the offense. (Doc. No. 1125 at 45).
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      The 1993 amendment did not alter the text of the
      guideline itself but rather amended the commentary by
      adding a new application note to explain what it means
      to be an organizer, leader, manager or supervisor.
      Prior to the amendment some circuits (including ours)
      had concluded that a defendant’s control over
      property, assets, or criminal activities could trigger
      U.S.S.G. 3B1.1(b)’s enhancement. Other circuits,
      however, had concluded that the enhancement was
      warranted only when the defendant controlled one or
      more participants in the criminal endeavor. The 1993
      amendment explains that an increased sentence may be
      warranted in either case, though an enhancement (as
      opposed to an upward departure) is the appropriate
      vehicle only for those defendants who controlled
      people.

Id. at 1110.

      In further support of his objection, Movant cites to two

cases originating in the Southern District of West Virginia,

United States v. Cameron, 573 F.3d 179 (4th Cir. 2009), and

United States v. Sayles, 296 F.3d 219 (4th Cir. 2002).               In

Cameron, the Fourth Circuit found error in a sentence where the

district court applied a 3B1.1 enhancement, finding that there

was no evidence that the defendant planned or organized the

operation, exercised any control or authority over other

participants, recruited accomplices into the operation, or

claimed any share of the fruits of the criminal activity.                 573

F.3d at 186.     In Sayles, the Fourth Circuit reversed the

district court’s application of 3B1.1 enhancements, holding that

“being a buyer and seller of Illegal drugs, even in league with

more than five or more other persons, does not establish that a



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defendant has functioned as an ‘organizer, leader, manager, or

supervisor’ of criminal activity.”          Id. at 185.

      The Movant’s argument under this objection is that it is

“arbitrary and capricious that the [PF&R] would insinuate an

upward departure when the judge did not depart upwardly at the

original sentencing.”       In fact, the Defendant’s Pre-Sentencing

Report recommended an upward adjustment under § 3B1.1(b) based

on the probation officer’s belief that Spencer “was a

manager/supervisor of criminal activity” and that the

application of U.S.S.G. 3B1.1(b) is appropriate.              (Doc. No. 1166

at p. 9).     Judge Haden did impose a three-level enhancement for

an aggravated role in the offense; the court also granted a

three-level reduction for acceptance of responsibility.                (Doc.

No. 488 at 409-12).

      Additionally, it was established by a preponderance of the

evidence at the sentencing hearing that the Movant had exercised

managerial responsibility during the conspiracy.              Counsel

Henderson cross-examined each of the government’s witnesses

concerning Defendant’s alleged activities in the course of the

conspiracy.     (See Doc. No. 488 at 402-405).          Mr. Henderson’s

objection and argument was consistent with the amendment to §

3B1.1 and the holding in Capers.           The Movant has not

demonstrated that Henderson’s representation fell below an

objective standard of reasonableness; nor is there evidence that

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“but for” Henderson’s conduct, he would not have pled guilty and

would have insisted on going to trial.            For these reasons, the

court FINDS that Movant has not shown that Mr. Henderson

provided ineffective assistance of counsel in violation of his

Sixth Amendment rights, and no relief is warranted on this

ground.

      Objection II. “Counsels were ineffective for not
      objecting to the district court’s misrepresentation of
      the statutory mandatory minimum and maximum penalties
      alleged in the indictment.”

      The Movant claims that his lawyers provided ineffective

assistance of counsel by failing to inform him of the minimum

and maximum punishments when no drugs were charged in the

indictment.     (Doc. No. 1222 at pg. 6).         The Movant asserts that

the statutory minimum and maximum punishment to which he was

exposed was misrepresented at the plea hearing, and that his

lawyers should have objected to and challenged this

misrepresentation.       Mr. Spencer’s objection is limited to Mr.

Gillooly and Mr. Mooney.4       Id.

      To address this claim, the first issue is whether there was

a misrepresentation of the statutory maximums and minimums.                  To

be certain, the law in the Fourth Circuit was changing during

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 The Movant concedes that this argument is frivolous with respect
to Mr. Henderson: “[The argument might be frivolous] in light
of [sic; in regards to] Mr. Henderson and the timeline of
Jones.” Doc. No. 1222 at pg. 6. The Movant finds error with
the Magistrate Judge’s attempt to “stretch” the Jones timeline
holding to his lawyers Gillooly and Mooney.
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the time the Defendant and his co-conspirators were entering

guilty pleas.        The Defendant entered his guilty plea after the

Supreme Court rendered its decision in Jones v. United States,

526 U.S. 227 (1999), which was the precursor to the decisions in

Apprendi, Blakely and Booker.

     After Apprendi was decided, but before the decisions in

Blakely and Booker, it was the standard practice of the court,

where there was no drug quantity pled in an indictment, to

sentence a defendant under Section 841(b)(1)(C), which provided

no mandatory minimum sentence and had a maximum sentence of 20

years.    In United States v. Promise, the Fourth Circuit held

that an “individual who possesses with intent to distribute an

identifiable but unspecified quantity of [controlled

substances]” faces a maximum sentence of twenty years under that

section, and that a “sentence exceeding twenty years may be

imposed only upon an additional finding that the offense

involved a specific threshold quantity of a schedule I or II

controlled substance.”        266 F.3d 150, 156 (4th Cir. 2001)(en

banc).

      In United States v. Cotton, 261 F.3d 397, 404 (4th Cir.

2001), the court determined that an indictment was “mandatory

and jurisdictional” and that an indictment that contained no

specified drug quantity only granted the district court

jurisdiction to try and sentence the defendant under the

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baseline drug trafficking offense in section 841(b)(1)(C).                  In

2002, the Fourth Circuit issued its opinion in United States v.

Martinez, 277 F.3d 517 (4th Cir. 2002) in which the court held,

inter alia, that based upon the decisions in Apprendi, Promise

and Cotton, the district court erred in advising a defendant at

his guilty plea hearing that he faced a mandatory minimum

sentence of ten years and a maximum sentence of life in prison,

where the defendant’s indictment did not specify a drug

quantity.     The Martinez court further held that the district

court possessed jurisdiction only over Martinez for a conspiracy

to violate section 841(b)(1)(C), and that the court could only

conduct plea and sentencing proceedings for that offense.                Id.

at 529.

      Mr. Spencer admitted during his plea colloquy that the

conspiracy involved five kilograms or more of cocaine powder or

50 grams or more of cocaine base.          Because he admitted to the

essential element of the charge during his plea, the minimum ten

year and maximum life sentence was triggered.             Defendant also

repeatedly agreed that he understood that he was exposed to the

minimum and maximum penalty under this section.              Based upon the

settled law at the time, Spencer was properly advised of the

minimum and maximum sentences to which he was exposed,

notwithstanding the fact that the superseding indictment

contained no drug quantity, and Defendant has not shown that

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counsel’s conduct fell below an objective standard of

reasonableness under the circumstances.               The court has

recognized this fact in denying a similar claim raised by a co-

defendant, Calvin Dyess.       Dyess v. United States, Case No. 2:08-

cv-00849.

      Nor was Mr. Gillooly’s performance deficient on this issue.

Defendant asserts that had Mr. Gillooly challenged the

Defendant’s guilty plea on this issue, he may have been able to

withdraw his guilty plea.       There is ample evidence that counsel

Gillooly investigated the case law and gave the Defendant the

benefit of his professional advice.          (Doc. No. 1145 at 35-36).

The court is convinced that there was no Sixth Amendment

violation, and Defendant was properly advised of the minimum and

maximum sentences to which he was exposed, based upon his

voluntary admissions during his plea colloquy that the

conspiracy involved a quantity of more than 5 kg of cocaine and

50 grams or more of cocaine base.5         A motion by Mr. Gillooly

would have been frivolous, which Mr. Gillooly likely realized.

Fourth Circuit precedent supports that conclusion by Mr.

Gillooly.     In United States v. Cotton, the Fourth Circuit held


5
 The Movant takes issue with this fact in his Objections. He
notes that Mr. Henderson told him to “simply say yes to
everything so as not to make Judge Haden or the Government
upset,” insinuating that he would not have admitted to these
quantities of drugs had he been correctly informed that he was
facing a maximum of only 20 years with no mandatory minimum.
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that an indictment that omits a drug quantity is sufficient to

sustain a conviction and the failure of the Court to inform the

Defendant of a drug quantity at the plea hearing is no reason to

allow withdrawal of the plea.        293 F.2d at 687 n.16.         Based on

the foregoing, the Movant has failed to show that counsel

Gillooly’s performance fell below a standard of objective

reasonableness.

      Finally, the Movant criticizes counsel Mooney’s performance

on appeal:     “Movant wishes to preserve for appeal the fact that

counsel Mooney was in the best position to make the challenge to

the guilty plea on Movant’s direct appeal. . . Moreover, the

Magistrate has totally discounted the attached disciplinary

hearing of counsel Mooney effectively suspending her from

practicing law.”6      The fact that Ms. Mooney was reprimanded in a

separate case “around the same time” that she was representing

Mr. Spencer does not adequately show that Ms. Mooney’s

performance in Mr. Spencer’s case fell below the standard of

objective reasonableness, and the Magistrate Judge did not err

in failing to consider it.       For these reasons, the court FINDS

that the defendant did not receive ineffective assistance of


6
 Spencer attached to his objections a record of a disciplinary
action against Ms. Mooney, which was filed in 2009. (Doc. No.
1222 at p. 21). The attachment shows Ms. Mooney being
disciplined by the West Virginia Supreme Court for a lack of
communication and diligence in an unrelated case, as well as her
contempt of court order.
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counsel from Mr. Henderson, Mr. Gillooly, or Ms. Mooney.                As

such, he is not entitled to relief on this ground.

      Objection III. “Counsel Henderson was ineffective at
      sentencing for failing to object to the drug quantity
      attributable to Movant Spencer at sentencing.”

      In his third objection, the Movant objects to the fact

“that the Magistrate judge would adopt the government’s stance

verbatim” and asserts that Magistrate Judge Stanley’s finding

“do[es] not contain a scintilla of authority.”             The Movant

specifically finds fault with the assertion that Mr. Henderson

made a strategic decision not to object to the relevant conduct

determination, thus securing a 3-level reduction in defendant’s

guideline for acceptance of responsibility.             The government

relied on the fact that Defendant admitted to being involved

with 12-17 kilograms of powder cocaine, which the Movant now

denies.

      The issue is whether Mr. Henderson’s conduct during the

sentencing phase fell below an objective standard of

reasonableness.      The court finds that it did not.          Mr. Henderson

may have made a strategic decision not to challenge the quantity

in order to secure the acceptance of responsibility three-level

reduction.     It is also possible that because he did not know the

exact quantities, and based on the fact that Mr. Spencer had

admitted to dealing a certain amount of drugs (at least 5 kg of

cocaine and 50 grams of cocaine base), he made a strategic

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decision not to call attention to the admitted quantity of drugs

by objecting to the lower quantity considered at sentencing.

The Movant had the burden to show that Mr. Henderson’s conduct

fell below an objective standard of reasonableness, and he has

not met that burden.       The Movant’s assertion that he would have

only had a base level of 12 rather than 38 runs contrary to his

own admitted quantity of drugs.         For these reasons, the court

denies the defendant’s objections and finds that Mr. Spencer is

not entitled to relief on this ground.

      Objection IV. “Mr. Gillooly was ineffective for
      failing to investigate and interview witnesses prior
      to the 2004 evidentiary hearing and calling those
      witnesses at the hearing to dispute the drug
      quantity.”

      The Movant’s Fourth objection alleges that Thomas Gillooly,

who represented Defendant during the remand proceedings, failed

to investigate and interview witnesses prior to the 2004

evidentiary hearing.       Mr. Gillooly’s Affidavit shows that he

attempted to interview and investigate prior to the evidentiary

hearing:     “defense counsel and I made strenuous and repeated

efforts to obtain interviews of the witnesses we thought should

be considered for the evidentiary hearing.            Most were reluctant

to talk to us or refused outright.”          (Doc. No. 1145).        The

Movant takes issue with well-settled law that the failure to

call witnesses is a tactical decision which generally does not

amount to ineffective assistance of counsel.             Goodson v. United

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States, 564 F.2d 1071, 1072 (4th Cir. 1977).              Mr. Gillooly’s

affidavit shows that he did investigate and attempt to secure

alternate witnesses, which were unwilling to testify.                The

refusal to subpoena witnesses when he did not know what the

witnesses would say at the hearing certainly falls within a

tactical decision by counsel.

      Movant has failed to show that Mr. Gillooly’s performance

in failing to call witnesses at the evidentiary hearing falls

below an objective standard of reasonableness.              As such, the

court finds that he is not entitled to relief on this ground.

      Objection V. “The District Court erred in not
      resentencing Movant Spencer in light of Apprendi and
      Booker.”

      In this objection, the Movant concedes that his Apprendi

error is moot based on his resentencing under 18 U.S.C. §

3582(c)(2) to 168 months.       However, he asserts that his Booker

argument warrants further consideration.              He objects to the fact

that he was never given an opportunity to present evidence based

on the § 3553(a) factors when this court stated during the

limited evidentiary hearing that it would have imposed the same

sentence as Judge Haden’s original sentence.              Mr. Spencer relies

heavily upon the dissent during his direct appeal.

      It is clear from the record that the Fourth Circuit

considered this exact argument during Mr. Spencer’s direct




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appeal and ultimately upheld this court’s ruling.              The majority

opinion states:

      Any further proceeding designed to correct the Booker
      error in the sentences would be little more than an
      empty formality, for the sentence the district court
      would impose on remand is a foregone conclusion. At
      the conclusion of the most recent evidentiary hearing
      in this case, the district court (Judge Faber)
      possessed as much or more reliable information about
      the defendants and the details of their offenses as
      had the sentencing court (Judge Haden). The district
      court was thus entitled to conclude that the sentences
      were reasonable and justified by abundant proof. We
      therefore decide that the defendants are not entitled
      to resentencing under Booker despite the Sixth
      Amendment error, or otherwise, as the defendants’
      sentences were not “longer than that to which they
      would otherwise be subject.” Hughes, 401 F.3d at 548.

478 F.3d at 242 (internal citations omitted).             Because the

defendant has already raised this issue before the appellate

courts, and because the Fourth Circuit has already held that any

error on this issue was harmless, the court FINDS that defendant

is not entitled to relief on this objection concerning the

alleged error in failing to resentence Mr. Spencer.

      Additionally, the court has considered whether to grant a

certificate of appealability in this case.            See 28 U.S.C. §

2253(c). To grant a certificate of appealability, there must be

a substantial showing of the denial of a constitutional right by

demonstrating that the issues raised are debatable among

jurists, that a court could resolve the issues differently, or

that the questions deserve further proceedings.              28 U.S.C. §


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2253(c); Slack v. McDaniel, 529 U.S. 473 (2000).                   The standard

is satisfied only upon a showing that reasonable jurists would

find that any assessment of the constitutional claims is

debatable or wrong and that any dispositive procedural ruling is

likewise debatable.       Miller-El v. Cockrell, 537 U.S. 322, 336-38

(2003); Rose v. Lee, 252 F.3d 676, 683-84 (4th Cir. 2001).                   The

court concludes that the governing standard is not satisfied in

this instance.       Accordingly, the court DENIES a certificate of

appealability.

                                 CONCLUSION

      For the reasons stated above, the court ADOPTS the PF&R,

OVERRULES Movant’s objections to the PF&R and DENIES Mr.

Spencer’s motion under 28 U.S.C. § 2255.               This matter is removed

from the court’s active docket.

      The court further DIRECTS the Clerk to send a copy of this

Memorandum Opinion and Order to the defendant pro se, and

counsel of record.

      IT IS SO ORDERED on this 29th day of March, 2012.

                                     Enter:


                                     David A. Faber
                                     Senior United States District Judge




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